                  Case 2:21-cv-01326-TSZ Document 35 Filed 01/17/22 Page 1 of 2



1                                                                    THE HONORABLE THOMAS S. ZILLY
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5                                 UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF WASHINGTON
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     PROJECT VERITAS,
8                                                            No. 2:21-cv-01326-TSZ
                              Plaintiff,
9                                                            PLAINTIFF PROJECT VERITAS’
             v.                                              NOTICE REGARDING RULE 26(f)
10                                                           CONFERENCE
   THE LELAND STANFORD JUNIOR
11 UNIVERSITY, and THE UNIVERSITY OF
   WASHINGTON
12
                    Defendants.
13

14           This Court directed the parties to hold a Rule 26(f) Conference by Friday, January 14,
15 2022. [See Dkt. 13 at 1; Dkt Entry Nov. 16, 2021.] The Court has not amended this requirement

16 or granted a stay of any discovery obligations in this case. Plaintiff understands that the Court’s

17 discovery obligations remain in full force and effect and, therefore, has attempted to comply with

18 them by asking Defendants to participate in a Rule 26(f) conference on multiple

19 occasions. [See Dkt. 32, Ex. 1, at 10–11]; (Email from Elizabeth M. Locke, Plaintiff’s Counsel,

20 to Defendants’ Counsel (Jan. 13, 2022) (Ex. A)). Defendants, however, have refused to

21 participate in a Rule 26(f) conference, asserting they are not bound by this Court’s scheduling

22 orders due to their reliance upon a state procedural statute. [See Dkt. 32 at 3; Dkt. 32, Ex. 3, at 17;

23 Dkt. 32, Ex. 5, at 24.] Accordingly, no Rule 26(f) Conference has taken place. Plaintiff stands

24 ready to participate in the Rule 26(f) Conference and to comply with all other deadlines set by this

25 Court and/or the Federal Rules of Civil Procedure.

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      Plaintiff’s Notice Re: Rule 26(f) Conference —                                   Ard Law Group PLLC
      No. 2:21-cv-01326-TSZ
                                                                                       P.O. Box 11633
      Project Veritas v. Stanford and Washington                                       Bainbridge Island, WA 98110
      University
                Case 2:21-cv-01326-TSZ Document 35 Filed 01/17/22 Page 2 of 2



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     Dated: January 17, 2022                           Respectfully Submitted,
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5                                                      Ard Law Group PLLC
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6                                                      Bainbridge Island, WA 98110
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12                                                     ATTORNEYS FOR PLAINTIFF

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      Plaintiff’s Notice Re: Rule 26(f) Conference —                              Ard Law Group PLLC
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      University
